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                  IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                                 GREENBELT DIVISION

  NATALIE N. SAYLES
      Plaintiff,
                                                            Case No.: 17-1314 PX
  vs.

  MACYS RETAIL HOLDINGS and
  LEVI STRAUSS & COMPANY

         Defendants’,

                                             ORDER

         Upon consideration of Plaintiff’s Motion to Modify Scheduling Order, it is hereby this
12th       April
  __day of ________,  2018, ORDERED that the Motion is granted, it is further ORDERED, that
  the Scheduling Order is modified as follows:

  Date                                Event
  May 25, 2018                        Plaintiff’s Rule 26(a)(2) expert
                                      disclosures

  June 20, 2018                       Defendant’s Rule 26(a)(2) expert
                                      Disclosures

  June 25, 2018                       Plaintiff’s rebuttal Rule 26(a)(2) expert
                                      disclosures

  July 23, 2018                       Completion of Discovery; submission of
                                      Post-Discovery Joint Status Report
  August 3, 2018                      Rule 26(e)(2) supplementation of
                                      disclosures and responses

  August 13, 2018                     Requests for Admission

  September 14, 2018                  Dispositive Pretrial Motions


         Signed this ___Day
                     12th      April
                            of ________, 2018

                                                                  /S/
                                                     ______________________________
                                                     Honorable Paula Xinis
                                                     United States District Judge
